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 DOWD, J.

                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

 United States of America,                         )
                                                   )     CASE NO. 5:06 CR 162
                Plaintiff(s),                      )
                                                   )
        v.                                         )     ORDER
                                                   )
 Charles Petties,                                  )
                                                   )
                Defendant(s).                      )
                                                   )

        The defendant has filed a series of motions. The Court addresses the same in this order.

                    I. Motion for Jenks [sic] Material Prior to Trial. (Docket # 85)

        The government has no requirement to produce the Jencks material prior to the testimony

 of the witness. However, the Court will direct a timely production during the trial to avoid

 unnecessary delays. The motion for production prior to trial is DENIED.

               II. The Motion for Production of Interview Reports With Individuals
                    Who Will Not be Permitted to Testify at Trial. (Docket #87)


        To the extent the interview reports constitute Brady material the motion is GRANTED.

 In all other respects, the motion is DENIED.

                         III. The Motion for the Witness List. (Docket # 88)

        No such requirement is contained in the Federal Rules of Criminal Procedure. The

 motion is DENIED.

               IV. The Motion to Interview Government Witnesses. (Docket # 89)
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 (5:06 CR 162)

        The motion is DENIED.

                   V. The Motion to Reveal the Deal Made by the Government
                      With Any Witness Expected to Testify. (Docket # 90)

        The government is reminded of its obligation under the teachings of Giglio v. United

 States, 405 U. S. 150 (1972) and Brady. The motion is GRANTED.

              VI. The Defendant’s Request for Notice of Intention to Use Evidence
                    in the Context of Rule of Evidence 404(b). (Docket #91)

        The motion is GRANTED.

                 VII. The Motion for Disclosure of Confidential Informants and
                      Information on Confidential Informants. (Docket #86)


        Counsel for the defendant states “[T]he request should be understood as including a

 demand for production of the DEA’s internal informant file.” The motion as stated is DENIED,

 but without prejudice to renew in the event the evidence should demonstrate the use of an

 informant in a setting which requires disclosure of the identity of the informant under the

 teachings of Rovario v. United States, 77 S. Ct. 623 (1957).

        IT IS SO ORDERED.


  June 6, 2006                                  /s/ David D. Dowd, Jr.
 Date                                         David D. Dowd, Jr.
                                              U.S. District Judge
